                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

IN THE MATTER OF:

STAYMOBILE VENTURE, LLC,                               Chapter 7
                                                       Case No. 22-43781-LSG
                                                       Hon. Lisa S. Gretchko
                                 Debtor(s)
                                                /
TIMOTHY MILLER, Trustee,

              Plaintiff,                               Adv. Pro. No. 23-04151-lsg
v.                                                     Hon. Lisa S. Gretchko

UPPER EDGE TECHNOLOGIES, INC.,

          Defendant
___________________________________/

                     REPORT OF PARTIES’ RULE 26(f) CONFERENCE


      Pursuant to Fed. R. Bankr. P. 7026 and Fed. R. Civ. P. 26(f), a conference
was held on June 2, 2023 via telephone and was participated in by:

              David P. Miller for Plaintiff
              Jose Hernandez for Defendant

        This is submitted as the required report of that conference.

        (1)   Initial Disclosures required by Fed. R. Civ. P. 26(a)(1).

              [ x]    The parties will provide such by July 12, 2023; or

              [ ]     The parties agree to provide the following at the times
                      indicated:




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      (2) Discovery Plan. The parties jointly propose to the Court the following
discovery plan in conformance with Fed. R. Civ. P. 26(f)(3): (Use separate
paragraphs or subparagraphs as necessary if parties disagree.)

            (a)    Discovery will be needed on the following subjects: Paragraphs
                   9-14, 18-25, and 29 of Plaintiff’s Complaint, and more
                   generally, Plaintiff’s claims and Defendant’s defenses.

            (b)    All discovery commenced in time to be completed by October
                   10, 2023.

            (c)    Maximum of 25 interrogatories by each party to any other
                   party. [Responses due 30 days after service.]

            (d)    Maximum of 35 requests for admission by each party to any
                   other party. [Responses due 30 days after service.]

            (e)    Maximum of 4 depositions by plaintiff(s) and 4 by
                   defendant(s).

            (f)    Each deposition limited to maximum of 5 hours unless
                   extended by agreement of parties.

            (g)    Reports from retained experts under Fed. R. Civ. P. 26(a)(2)
                   due:
                   from plaintiff(s) by September 10, 2023;
                   from defendant(s) by September 10, 2023.

            (h)    Supplementation under Fed. R. Civ. P. 26(e) due as required
                   under Rule 26(e).

            (i)    Discovery of electronically stored information

                   (i)    This adversary proceeding does __x__ does not ____
                          involve the discovery of electronically stored information

                   (ii)   Pursuant to E.D. Mich. LBR 7026-4, the Model Order
                          Relating to the Discovery of Electronically Stored
                          Information approved by the District Court will _x___
                          will not ____ apply.
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      (3) Other Agreed Upon Items.                    [Use separate paragraphs or
subparagraphs as necessary if parties disagree.]

             (a)    Plaintiff(s) is granted leave through, and the deadline is, August
                    11, 2023 to join additional parties and to amend the pleadings.

             (b)    Defendant(s) is granted leave through, and the deadline is,
                    August 11, 2023 to join additional parties and to amend the
                    pleadings.

             (c)    All potentially dispositive motions must be filed by October 25,
                    2023.

             (d)    The proceeding will be ready for trial by December 9, 2023.
                    The trial is expected to take approximately 1 trial day.

             (e)    Jury Trial Matters.

                    (i)    [ x]   a jury trial was not timely demanded and is
                                  waived; or

                           [ ]    a jury trial was timely demanded, but is waived; or
                           [ ]    a jury trial was timely demanded but not waived.

                    (ii)   [ ]    the parties consent to the Bankruptcy Court
                                  conducting the jury trial; or

                           [ ]    the parties do not at this time consent to the
                                  Bankruptcy Court conducting the jury trial.

             (f)    The parties agree that:

                    [ x ] This is a core proceeding; or

                    [ ]    This is a non-core proceeding otherwise related to the
                           bankruptcy case.



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            (g)    [ x ] The parties consent to the Bankruptcy Court entering a
                         final order or judgment in this proceeding; or

                   [ ]    The parties do not consent to the Bankruptcy Court
                          entering a final order or judgment in this proceeding.

      (4)   Other matters.


      (5)   Matters not agreed upon or insufficiently addressed by the foregoing.

AGREED:


Dated: June 2, 2023
                                OSIPOV BIGELMAN, P.C.

                                /s/ David P. Miller
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                                JEFFREY H. BIGELMAN (P61755)
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                                 and

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                                Counsel for the Defendant
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